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EXHIBIT 20
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WwW

Sent: 7/14/2017 9:38:42 AM

To: Maria D. Padin [Maria.D.Padin @hitchcock.org]; Edward J. Merrens [Edward.J.Merrens@hitchcock.org]
cc: Daniel P. Herrick [Daniel.P. Herrick @hitchcock.org]

Subject: RE: PRAF - OB/GYN Generalist

Attachments: Generalist- Provider Request Assistance Form (PRAF)6-30-2017.docx

Good morning,

Thank you for coming to talk to the OBGYN department today. It was helpful for people to hear from you about
the bigger picture and was a positive way for us to start moving forward.

| want to follow up on the status of this PRAF for a 1.0 Generalist and see if it has been approved.

| did an analysis this week to determine how many Generalist we need, and when | return from vacation | will
submit those proposals as well.

Heather

Heather L. Gunnell

Practice Manager, OB/GYN
heather.|.gunnell@hitchcock.org

phone 603.653.9272 | fax 603.650.0906

From: Heather L. Gunnell

Sent: Friday, June 30, 2017 9:16 AM

To: Maria D. Padin <Maria.D.Padin@hitchcock.org>; Edward J. Merrens <Edward.J.Merrens@hitchcock.org>
Cc: Daniel P. Herrick <Daniel.P.Herrick@hitchcock.org>; Leslie R. DeMars <Leslie.R.DeMars@hitchcock.org>
Subject: PRAF - OB/GYN Generalist

Good Morning,
This PRAF is for a 1.0 cFTE General OB/GYN. Please let me know if you need more information.

Thanks,
Heather

Mo Dartmouth-Hitchcock

Heather L. Gunnell

Practice Manager, OB/GYN
heather.|.gunnell@hitchcock.org
dartmouth-hitchcock. org

_ phone 603.653.9272 | fax 603.650.0906

A Gubure of Caring

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records,

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D-H PROVIDER SEARCH INITIATION
Approval and Justification Process Summary & Request Form

All Dartmouth-Hitchcock (D-H) provider searches ~ backfills or new positions — must have explicit approval from the
Organizational Hiring Approval Authority, D-H Service Line Leader (SLL) (and Academic Chair, if not the same individual
and the position requires an academic appointment) and/or Local Approval Authority and the budgeting office before a
search can begin. Approval must be obtained and documented before Talent Acquisition can begin work on a search.

Search Approval Process:
1. Hiring Manager or operational designee completes Provider Recruitment Assistance Form (PRAF)
2. Hiring Manager sends PRAF to Local Approval Authority to review/approve
a. D-H Lebanon: Service Line Leader (SLL)
b. CGP: Steve Boyce
2. Local Approval Authority forwards PRAF to Organizational Approval Authority (Ed Merrens for all provider
searches) and cc’s Belinda Peavey and Recruiter
3. Once approval is received, Hiring Manager enters requisition into Hiring Manager and attaches approved
PRAF
4. Search initiation and sourcing begins

* For Affiliates seeking assistance with provider recruitment, we understand the ‘approver’ of positions may vary from
location to location. Approval to initiate a provider search may come to Talent Acquisition by the CEO, CMO or
appropriate approving physician or operational leader at each entity. We ask that this leader also notify the D-H Hiring
Approval Authority & D-H SLL to ensure discussions at the regional planning level are taking place.

Faculty Appointments: When a position requires a faculty appointment at Geisel, the hiring Department is responsible
for submitting the new search via the ‘Form A’ to Dashboard for tracking purposes by the Dean’s office. Additional
instructions on the Geisel Faculty appointment can be found on the Talent Acquisition intranet site.

Please note, as a team we are serving a variety of D-H and Affiliate customers across the region. Many of which may
have “competing” positions open at any given time. The Talent Acquisition process will be a transparent one, across the

system and Affiliates. We also ask for transparency in return, so that we can fully and accurately represent the needs of
both D-H and our community partners.

e All required details must be completed on the PRAF Form to initiate a search

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PROVIDER RECRUITMENT ASSISTANCE FORM — APPROVAL AND JUSTIFICATION

SERVICE LINE/DEPARTMENT/HOSPITAL/PRACTICE INFORMATION

*Required Field

*D-H SERVICE LINE:

OB/GYN

*D-H OR AFFILIATE LOCATION:
(DH Keene, DH Lebanon, DH Nashua,

New London Hospital, etc)
List both primary and any additional locations
provider is expected to practice

DH Lebanon

*DEPARTMENT/PRACTICE:
(Medicine, Surgery, Plymouth
Pediatrics, etc.}

Obstetrics and Gynecology

*HIRING MANAGER/

CLINICAL LEAD:

(Who is the clinical point person that
TA will partner with on search?)

Dr. Regan Theiler

*ADMINISTRATIVE POINT PERSON
(Scheduling interviews, onsite
coordination, etc.):

Barbara Bragg

Other than the Hiring Manager & Admin
Point person, who else should be included in
the Intake (kick-off) Meeting to review
position details?

Heather Gunnell

POSITION INFORMATION
*Required Field

*Requisition #:
(D-H Lebanon & CGP only}

38319

*PHYSICIAN, NP, PA, CRNA, PhD, ETC:

Physician

*TOTAL FTE STATUS:
Standard weekly hours:

1.0

*CLINICAL FTE (by division)
(e.g., 1.0 cFTE: 0.5 Keene, 0.5 AMC)

1.0

*POSITION/SPECIALTY:

General OB/GYN MD

*TITLE (Faculty, Staff, Chief, Med
Director, etc?):

Faculty

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If Faculty — anticipated or desired | Assistant Professor
Appointment rank:

*TARGET START DATE: | May 2017
(When do you need this person?)

* COMPENSATION RANGE FOR | $220,000 ~ $370,000
SPECIALTY (starting & end point):

TARGET COMPENSATION: | $267,000

*ANTICIPATED HOURS/SHIFTS: | Full time for physician (10 shifts plus call) Call will be shared equally among the
providers for the birthing pavilion.

*DEPT/COST CENTER INFO | B001=16100
(D-H only):
(X-XXX-XXXXX, ex: B - 001-53215)

*Describe how this position’s responsibilities/activities are critical and essential to D-H core operating priorities (e.g.
direct patient care, research, education).

This position is essential for provision of direct patient care in the Ob/Gyn clinic, operating rooms, and Birthing Pavilion. We
have a shortage of subspecialists and generalists in the department, with generalists being both easier to recruit and more
flexible in terms of clinical assignments.

*What are the current methods for accomplishing these activities? Include the associated cost and time required as well
as the resources required, e.g. staff, equipment, supplies, etc.

We have covered these duties with a combination of faculty, but the recent departure of Dr. Karen George at 0.9 FTE has
made it difficult to cover while maintaining clinical volumes and safety. Dr. George’s departure resulted in a 20% loss in
capacity. We are fully booked in clinics, with increasing OR volumes, and we have had little room for any absences even
before this critical faculty departure.

*Can the work be completed with existing staff? If so, what are the impacts? Is there any work currently being
performed that can be eliminated in order to assign or redistribute the work/responsibilities of this position? If so, what
are the impacts? Are there other cost effective alternatives to accomplish the work other than adding/filling this
position, for instance, can the work be outsourced and if so, at what cost?

We have no capacity to fill in these duties with existing staff. In the past we would have looked to subspecialists to fill in
components of the work, but given critical vacancies in urogynecology, maternal-fetal medicine and the recent closure of
REI, our colleagues are not in a position to offer flexibility.

We have two maternity leaves this summer/fall among our remaining faculty, making the situation more urgent. We are in
the process of recruiting a locum tenens assistance to maintain basic services until we can make a permanent hire.

*What are the implications of not filling this position?

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if this critical position is not filled, the generalist Ob/Gyn faculty will be limited to covering only the most urgent of clinical
duties. This generally means ensuring safety on the birthing pavilion and staffing urgent OR cases, in addition to covering
resident precepting clinics as available.
The cost will be significant lost volume in the areas of faculty clinic visits, office procedures, scheduled OR cases, and
resident clinics. Secondary costs will be increased on-call burden and burnout among both MFM and general OB/Gyn
faculty as our call pool-for obstetrics shrinks again. We will additionally be quite limited in the ability to allow faculty
vacations/CME during this year, which bodes poorly for retention of existing faculty.
OPERATIONAL METRICS {HIRING SECTION/SPECIALTY)
*Required
FY17 YTD AMC FY17 YTD CGP FY17 YTD Keene
MD Productivity th th rd
*SPECIALTY/SECTION | Percentile (e.g., 50°) 40 20 23
Referral-to-appointment 28 days 21 days N/A
Year 1 Year 2 Year 3
wRVUs 5781 6056 6605
35th
Productivity percentile 30% 45%
*NEW PROVIDER 807
Appointments 770 885
OR cases (if applicable) 130 139 152
: : : 169
Discharges (if applicable) 160 186
APPROVALS
Name/e-signature Date Approved
OPERATIONAL MANAGER: | Heather Gunnell 6/29/2017
SERVICE LINE LEADER/LOCAL | Dr. Leslie DeMars 6/29/2017
HIRING AUTHORITY:
ACADEMIC CHAIR | Dr. Leslie DeMars 6/29/2017
(academic appointment
positions only)

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D-H FINANCE REVIEW

ORG APPROVAL AUTHORITY
(Ed Merrens, MD)

By signing and submitting this document to Talent Acquisition, you confirm that you have obtained approval to recruit
and hire inte this position by your Service Line Leader (and Department Chair, if a separate individual) or Hospital
representative (Affiliates). Signatures must be original or a clear email chain of approval must be included with the

Justification.

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